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 14   Attorneys for Defendant Bitpay, Inc.
 15                           UNITED STATES DISTRICT COURT
 16
                            CENTRAL DISTRICT OF CALIFORNIA
 17
                                     WESTERN DIVISION
 18
 19
       OX LABS INC., a California                   Case No. CV 18-5934-MWF(KSx)
 20    Corporation,
                                                    JOINT RULE 26(f) REPORT
 21                  Plaintiff,
                                                    Date: December 17, 2018
 22                         vs.                     Time: 11:00 a.m.
                                                    Courtroom: 5A
 23    BITPAY, INC., a Delaware
       Corporation, and Does 1-10,
 24
                     Defendants.
 25
 26
 27
 28
                                              -1-
      JOINT RULE 26(f) REPORT
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  1
             Pursuant to Federal Rule of Civil Procedure 26(f) and the Court’s Order
  2
      Setting Scheduling Conference, Plaintiff Ox Labs, Inc. and Defendant Bitpay, Inc.
  3
      submit this Joint Rule 26(f) Report.
  4
             a.     Statement of the Case:
  5
             Bitcoin is a digital form of currency (i.e., a cryptocurrency) that can be
  6
      purchased, traded, and used online, and its price at any given time is determined by
  7
      the exchange on which it is bought and sold. Because bitcoin’s price is determined
  8
      by supply and demand, as with stocks on a stock exchange, there is inherent price
  9
      volatility. Plaintiff’s wholly-owned subsidiary, SFOX, is a trading hub for
 10
      institutional investors and certain individuals and family offices that facilitates
 11
      high-volume cryptocurrency trades through its integrations with different
 12
      exchanges. Defendant is a bitcoin payment processor that helps merchants accept
 13
      customers’ payments for goods and services with bitcoin rather than traditional
 14
      payment methods like cash and credit cards.
 15
             In July 2015, Defendant made several transactions on Plaintiff’s platform
 16
      depositing a total of 1,100 bitcoin. Plaintiff inadvertently credited Defendant with
 17
      1,300 bitcoin instead of 1,100. Part of the dispute involves whether Defendant
 18
      knew that it was over-credited, knowingly withdrew the additional 200 bitcoin, and
 19
      concealed such fact from Plaintiff. Defendant thereafter sold the bitcoin and
 20
      retained the profit.
 21
             In February 2017, as part of a reconciliation process, the parties learned that
 22
      Plaintiff had over-credited the 200 bitcoin. Defendant acknowledged it was over-
 23
      credited, tendered payment for the profit it earned, but Plaintiff alleges that it is
 24
      entitled to return of the 200 bitcoin.
 25
             In addition, in August and October 2017, bitcoin underwent “hard forks,”
 26
      which meant anyone holding a bitcoin was given bitcoin Cash and bitcoin Gold on
 27
      a 1:1 ratio. The 200 bitcoin that Bitpay took from Plaintiff thus actually became
 28
                                                 -2-
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  1
      200 bitcoin, 200 bitcoin Cash, and 200 bitcoin Gold. At the time Plaintiff filed this
  2
      lawsuit, the total price of these cryptocurrencies was approximately $1,450,000 on
  3
      crypto exchanges.
  4
             Additional Statement by Plaintiff:
  5
             Defendant acquired and wrongfully kept 200 bitcoin that belonged to
  6
      Plaintiff. Defendant knew and failed to tell Plaintiff that it acquired Plaintiff’s
  7
      bitcoin, and instead of returning the bitcoin, sold it and kept the proceeds. Plaintiff
  8
      discovered the error for the first time during an account reconciliation process.
  9
      Plaintiff has repeatedly asked for the return of its bitcoin, bitcoin cash, and bitcoin
 10
      gold, but Defendant has refused to return such bitcoin. The price of bitcoin in 2015
 11
      when the over-credit occurred fluctuated between $200-500 per bitcoin. In
 12
      February 2017, bitcoin was selling for approximately $1,000. Near the end of
 13
      December 2017, each Bitcoin was selling for $20,000. In total, at the end of 2017,
 14
      the bitcoin, bitcoin cash, and bitcoin gold that Defendant refused to return was
 15
      worth nearly $4.9 million.
 16
             Additional Statement by Defendant:
 17
             It was Defendant that discovered the 200 bitcoin credit error and brought it to
 18
      Plaintiff’s attention in February 2017. The 200 bitcoin, however, were
 19
      electronically traded without knowing about the error shortly after Plaintiff’s own
 20
      error, netting a profit to Defendant of $57,216.55. Although the error was
 21
      undeniably Plaintiff’s error, Defendant unconditionally tendered this amount to
 22
      Plaintiff via a check. Defendant believes that the price of bitcoin on any other date
 23
      is irrelevant.
 24
             b.        Subject Matter Jurisdiction:
 25
             The parties agree that this Court has subject matter jurisdiction under 28
 26
      U.S.C. § 1332 because the parties are citizens of different states and the amount in
 27
 28
                                                  -3-
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  1
      controversy, as alleged further herein, exceeds the jurisdictional minimum of
  2
      $75,000.
  3
             c.      Legal Issues:
  4
             1. Whether Defendant is liable for conversion for wrongfully exercising
  5
                  dominion over and refusing to return the 200 bitcoin to Plaintiff.
  6
             2. Whether Defendant has been unjustly enriched by acquiring and refusing
  7
                  to return the 200 bitcoin to Plaintiff and whether equity dictates the
  8
                  bitcoin should be returned to Plaintiff.
  9
             3. If there was a wrongful conversion or unjust enrichment, the proper
 10
                  measure of damages.
 11
             4. Whether the statute of limitations has expired.
 12
             d.      Parties, Evidence, etc.:
 13
             Plaintiff - Ox Labs Inc. (its wholly-owned subsidiary is SFOX)
 14
             Defendant - Bitpay, Inc.
 15
             Percipient Witnesses – Akbar Thobhani (CEO, SFOX); George Melika
 16
      (CTO, SFOX); Richard Gaston (VP Data Management, SFOX); Bryan Krohn
 17
      (CFO, Bitpay); Tony Gallippi (CEO, Bitpay); Kirstie Getch (Controller, Bitpay);
 18
      Patrick Nagurny (Software Engineer, Bitpay), Bitpay auditors, SFOX auditors.
 19
             Categories of Key Documents – Communications between SFOX and
 20
      Bitpay; communications within Bitpay; bitcoin price indices; Bitpay financial
 21
      statements; documents on cryptocurrencies, valuation, hard forks, nature of
 22
      cryptocurrencies; the parties’ respective audit policies and records.
 23
             e.      Damages:
 24
             Plaintiff:
 25
             Plaintiff’s requested remedy is the return of its 200 bitcoin, 200 bitcoin Cash,
 26
      and 200 bitcoin Gold. If Defendant had returned Plaintiff’s bitcoin when Plaintiff
 27
 28
                                                  -4-
      JOINT RULE 26(f) REPORT
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  1
      requested its return, Plaintiff could have sold the bitcoin, bitcoin Cash, and bitcoin
  2
      Gold for upwards of $4,900,000 in 2017.
  3
             Defendant:
  4
             Defendant’s position is that even if there was a wrongful taking, which was
  5
      due to Plaintiff’s error, the measure of damage is the value of the taking at the time,
  6
      i.e., Defendant’s profit at the time, which was already unconditionally tendered via
  7
      check to Plaintiff.
  8
             f.      Insurance:
  9
             Not applicable.
 10
             g.      Motions:
 11
             The case is at issue. The parties do not currently anticipate motion practice
 12
      to add new parties to the case. The parties intend to file dispositive motions.
 13
             h.      Manual for Complex Litigation:
 14
             The parties agree that this case does not constitute complex litigation and
 15
      there is no need to use the Manual for Complex Litigation.
 16
             i.      Status of Discovery:
 17
             The parties will have exchanged initial disclosures before the Scheduling
 18
      Conference and anticipate propounding other forms of discovery soon thereafter.
 19
             j.      Discovery Plan:
 20
             The parties will have made initial disclosures at the time of the Scheduling
 21
      Conference without any changes to Rule 26(a) requirements. The parties do not
 22
      believe discovery should be conducted in phases or be limited to particular issues.
 23
      The parties intend to enter into a stipulated protective order governing confidential
 24
      information and potentially a stipulated protective order governing discovery of
 25
      electronically stored information, if it appears ESI issues will arise. The parties also
 26
      intend to seek a Rule 502(d) order protecting the inadvertent disclosure of privileged
 27
      information.
 28
                                                -5-
      JOINT RULE 26(f) REPORT
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  1
             The parties will propound written discovery requests and deposition notices
  2
      related to the claims and defenses in this matter, including but not limited to the
  3
      Defendant’s credit of 200 bitcoin, Defendant’s sale of such bitcoin, the value of the
  4
      bitcoin, bitcoin Gold, and bitcoin Cash, and the circumstances of the discovery of
  5
      the error and the parties’ conduct thereafter. The parties do not believe that
  6
      applicable discovery rules or limitations need to be changed or limitations imposed
  7
      in this case.
  8
             k.       Discovery Cut-off:
  9
             Plaintiff:
 10
             Plaintiff proposes a discovery cut-off date of October 4, 2019.
 11
             Defendant:
 12
             Defendant proposes a discovery cut-off date of May 3, 2019.
 13
             l.       Expert Discovery:
 14
             Plaintiff:
 15
                      Expert Witness Initial Disclosures: September 13, 2019
 16
                      Expert Witness Rebuttals: October 11, 2019
 17
                      Expert Discovery Cutoff: November 1, 2019
 18
             Defendant:
 19
                      Expert Witness Initial Disclosures: March 8, 2019
 20
                      Expert Witness Rebuttals: April 12, 2019
 21
                      Expert Discovery Cutoff: May 30, 2019
 22
             m.       Dispositive Motions:
 23
             The parties anticipate that this action may be resolved entirely by cross-
 24
      motions for summary judgment.
 25
             n.       Settlement/Alternative Dispute Resolution (ADR):
 26
            The parties engaged in pre-litigation settlement negotiations but Defendant
 27
      did not accept Plaintiff’s settlement terms. The parties desire a settlement
 28
                                                 -6-
      JOINT RULE 26(f) REPORT
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  1
      conference with the assigned magistrate judge.
  2
             o.     Trial Estimate:
  3
             Plaintiff:
  4
             Plaintiff estimates 3-5 court days for trial and has demanded a jury trial.
  5
      Plaintiff estimates calling 4-6 witnesses. The conversion cause of action will be
  6
      decided by a jury. The unjust enrichment cause of action is equitable in nature will
  7
      be decided by the Court.
  8
             Defendant:
  9
             Defendant estimates a 2-3 court days for trial. To the extent there remains a
 10
      question of fact, the conversion claim will be decided by a jury. Defendant believes
 11
      that unjust enrichment is an equitable remedy, not an available cause of action, but
 12
      any issue related thereto will be decided by the Court.
 13
             p.     Trial Counsel:
 14
             Plaintiff’s Attorneys:
 15
                    Philip Leider (Leider + Ayala-Bass LLP)
 16
                    Joren Ayala-Bass (Leider + Ayala-Bass LLP)
 17
                    Anahit Samarjian (Leider + Ayala-Bass LLP)
 18
             Defendant’s Attorneys:
 19
                    Lawrence H. Kunin (Morris, Manning & Martin, LLP)
 20
                    Benjamin T. Wang (Russ, August & Kabat)
 21
                    James S. Tsuei (Russ, August & Kabat).
 22
             q.     Independent Expert or Master:
 23
             The parties agree this is not a case where the Court should consider
 24
      appointing an independent expert or master. The parties may use their own experts.
 25
             r.     Timetable:
 26
             The parties have completed Exhibit A to this order.
 27
 28
                                                -7-
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  1
             s.     Other issues:
  2
             The parties do not foresee other issues at this time.
  3
  4
      Dated: December 3, 2018                          Respectfully Submitted,
  5
                                                       LEIDER + AYALA-BASS LLP
  6
                                               By:         /s/ Philip A. Leider
  7                                                       Philip A. Leider
  8                                               Attorneys for Plaintiff Ox Labs Inc.
  9
                                                       RUSS, AUGUST & KABAT
 10
                                               By:        /s/ Benjamin T. Wang         _
 11                                                      Benjamin T. Wang
 12                                               Attorneys for Defendant Bitpay, Inc.
 13
 14
                                     SIGNATURE ATTESTATION
 15
             I attest that all signatories listed, and on whose behalf the filing is submitted,
 16
      concur in the filing’s content and have authorized the filing.
 17
      Dated: December 3, 2018                  By:         /s/ Philip A. Leider
 18                                                       Philip A. Leider
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                 -8-
      JOINT RULE 26(f) REPORT
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  1                                   JUDGE MICHAEL W. FITZGERALD
                             SCHEDULE OF PRETRIAL AND TRIAL DATES WORKSHEET
  2
       Case No.          CV 18-5934-MWF(KSx)
  3    Case Name         Ox Labs Inc. v. Bitpay, Inc. et al.
  4                                  Matter                                     Plaintiff(s)’ Date      Defendant(s)’ Date        Court
                                                                                  mo / day / year         mo / day / year         Order
  5
       [X] Jury Trial or [      ] Court Trial
                                                                                  02/25/2020             09/09/19
  6    (Tuesday at 8:30 a.m.)
                                       Duration Estimate: 3-5 Days
  7   Final Pretrial Conference [LR 16] and Hearing on Motions In Limine
                                                                                  02/03/2020             08/19/19
      (Monday at 11:00 a.m. -- three (3) weeks before trial date)
  8   Motions In Limine must be filed three (3) weeks before this date;
      oppositions are due two (2) weeks before this date; no reply briefs.
  9
 10                          Event                               Weeks              Plaintiff(s)’         Defendant(s)’           Court
                                                               Before Trial         Date mo /              Date mo /              Order

 11                                                                                  day / year             day / year

       Last Date to Hear Motion to Amend Pleadings /                              07/15/2019             02/15/19
 12    Add Parties
       Non-Expert Discovery Cut-Off (at least 4 weeks               18            10/04/2019             05/03/19
       before last date to hear motions)
 13
       Expert Disclosure (Initial)                                                09/13/2019             03/08/19
 14
       Expert Disclosure (Rebuttal)                                               10/11/2019             04/12/19
 15    Expert Discovery Cut-Off                                    14 *           11/01/2019             05/30/19
       Last Date to Hear Motions (Monday at 10:00 a.m.)             14            11/04/2019             06/03/19
 16
       Last Date to Conduct Settlement Conference                   12            11/18/2019             06/17/19
 17    For Jury Trial                                                             01/10/2020             07/29/19
       ◆ File Memorandum of Contentions of Fact and
 18                                                                  6
         Law, LR 16-4
       ◆ File Exhibit and Witness Lists, LR 16-5.6
 19
       ◆ File Status Report Regarding Settlement

 20    ◆ File Motions In Limine

       For Jury Trial                                                             01/17/2020             08/05/19
 21    ◆ Lodge Pretrial Conference Order, LR 16-7                    5
       ◆ File Agreed Set of Jury Instructions and
 22      Verdict Forms
       ◆ File Statement Regarding Disputed
 23      Instructions,Verdicts, etc.
       ◆ File Oppositions to Motions In LImine
 24
       For Court Trial                                               3            01/31/2020             08/16/19
 25    ◆ Lodge Findings of Fact and Conclusions of
           Law, LR 52, and Summaries of Testimony
 26
         * The parties may choose to cut off expert discovery prior to MSJ briefing.

 27
                                                              ADR [LR 16-15] Selection:

 28               Attorney Settlement Officer Panel           Private Mediation           X    Magistrate Judge (with Court approval)

                                                                          -9-
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   1
                                      CERTIFICATE OF SERVICE
   2
              I certify that counsel of records in this case have consented to electronic
   3
       service and are being served with a copy of this document via the Court’s CM-ECF
   4
       system pursuant to Civil Local Rule 5-3. Unless governed by Federal Rule of Civil
   5
       Procedure 4 or Local Rule 79-5.3, the NEF constitutes proof of service of
   6
       individuals served in this manner.
   7
   8
       Dated: December 3, 2018                          By:   /s/ Philip. A. Leider
   9                                                             Philip A. Leider
  10                                                    Attorneys for Ox Labs Inc.
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